      Case 4:21-cv-02012 Document 8 Filed on 07/07/21 in TXSD Page 1 of 2




                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 UNITED ASSET HOLDINGS                            §
 CORPORATION AND DELIGHT                          §
 FOODS INC.                                       §
                Plaintiffs                        §
                                                  §                  CAUSE NO. 4:21-CV-02012
 V.                                               §
                                                  §                           JURY DEMANDED
 GRACE SUPPLY USA, INC. AND                       §
 ECONOMIC FOOD SOLUTIONS PVT.                     §
 LTD OF INDIA                                     §
               Defendants.

                PLAINTIFFS' CERTIFICATE OF INTERESTED PARTIES

       Pursuant to the Court's June 22, 2021 Order (Docket No. 4), Plaintiffs United Asset

Holdings Corporation and Delight Foods Inc. state that the following persons and entities are

financially interested in the outcome of this litigation, to the best of Plaintiffs' knowledge:

       1.      United Asset Holdings Corporation (Plaintiff)

       2.      Delight Foods Inc. (Plaintiff)

       3.      Grace Supply USA, Inc. (Defendant)

       4.      Economic Food Solutions PVT LTD of India (Defendant)

       5.      Plaintiffs' Counsel:    Allison J. Miller-Mouer
                                       Penn C. Huston
                                       MouerHuston PLLC
                                       349 Heights Blvd.
                                       Houston, TX 77007

       6.      Defendant Grace's Counsel: Keval Patel
                                          Attorney and Counselor at Law
                                          19855 Southwest Freeway, Suite 330
                                          Sugar Land, Texas 77479


Dated: July 7, 2021.



                                                  1
      Case 4:21-cv-02012 Document 8 Filed on 07/07/21 in TXSD Page 2 of 2




                                             Respectfully Submitted,
                                             MOUERHUSTON PLLC

                                             By: /s/ Allison Miller-Mouer
                                                  Allison Miller-Mouer
                                                  State Bar No. 24043822
                                                  Penn Huston
                                                  State Bar No. 00796804
                                                  MOUERHUSTON PLLC
                                                  349 Heights Blvd.
                                                  Houston, TX 77007
                                                  Telephone (832) 209-8871
                                                  Facsimile (832) 209-8158
                                                  allison@mouerhuston.com
                                                  Counsel for Plaintiffs



                                CERTIFICATE OF SERVICE

        I hereby certify that on July 7, 2021, a true and correct copy of the foregoing was served
on all counsel of record via CM/ECF.


                                                    /s/ Allison Miller-Mouer
                                                    Allison Miller-Mouer




                                                2
